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 8
     Attorneys for Defendants and Counterclaimants
 9   YOUTUBE, LLC and GOOGLE LLC
10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   MARIA SCHNEIDER, UNIGLOBE                        )   CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                      )
14                                                    )   DECLARATION OF QIFAN
     PUBLISHING LTD., individually and on behalf
     of all others similarly situated,                )   HUANG IN SUPPORT OF
15                                                    )   DEFENDANTS’ SEALING
                                                      )   REQUESTS
16                 Plaintiffs,                        )
                                                      )
17          v.                                        )
                                                      )
18   YOUTUBE, LLC and GOOGLE LLC,                     )
                                                      )
19                 Defendants                         )
                                                      )
20                                                    )
                                                      )
21                                                    )
     YOUTUBE, LLC and GOOGLE LLC,                     )
22                                                    )
                   Counterclaimants,                  )
23                                                    )
            v.                                        )
24                                                    )
                                                      )
25   PIRATE MONITOR LTD, PIRATE MONITOR               )
     LLC, and GÁBOR CSUPÓ,                            )
26                                                    )
                   Counterclaim Defendants.           )
27                                                    )
28


     DECLARATION OF QIFAN HUANG                                       CASE NO.: 3:20-CV-04423-JD
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 1            I, Qifan Huang declares as follows:

 2            1.     I am an attorney at Wilson, Sonsini, Goodrich & Rosati, P.C., counsel to

 3   Defendants and Counterclaimants YouTube, LLC and Google LLC (together, “YouTube”). I am

 4   over the age of 18 and am competent to make this declaration. I make each of the following

 5   statements based on my personal knowledge and could, if necessary, testify to the truth of each

 6   of them.

 7            2.     YouTube submits this Declaration in support of its requests pursuant to Civil

 8   Local Rules 7-11 and 79-5 to seal portions of documents submitted in connection with two

 9   summary judgment motions (one filed by Plaintiffs (Dkt. No. 265) and the other filed by

10   Counterclaim Defendants Pirate Monitor Ltd. and Gabor Csupo (Dkt. No. 260)); Plaintiffs’

11   motion for class certification (Dkt. No. 245); and the Parties’ respective motions to exclude

12   expert testimony (Dkt. Nos. 254, 256, 258, 262, 264). A total of over 100 documents, covering

13   more than 2000 pages of internal YouTube material, were provisionally filed under seal.

14            3.     Mindful of the interest of public access to litigation documents, YouTube has

15   carefully reviewed each document, and (with the exception of two documents which YouTube

16   seeks to seal in their entirety), it has proposed sealing only limited portions covering the most

17   sensitive information contained therein. YouTube’s narrowed sealing requests are limited to the

18   documents attached to my declaration as Exhibits 1 to 61 and described below.1

19            4.     YouTube’s sealing requests fall into the following categories:

20            Category 1: Descriptions of the Technical Infrastructure and System Design of

21            YouTube’s Products and Functions

22            YouTube requests that the Court maintain under seal confidential, proprietary, and highly

23   sensitive commercial information about the technical infrastructure underpinning YouTube’s

24   services, databases and their usage, and the system design overviews of YouTube products and

25   functions such as search and indexing, transcoding and video processing, recommendation

26   algorithms, and machine learning systems, which is contained in Exhibits 7, 8, 12, 13, 17-19, 32,

27   34, and 36-38 to this Declaration. Those documents, which were designated as “Confidential” or

28
        1
            Exhibit 2 was withdrawn pursuant to parties’ communications.

     DECLARATION OF QIFAN HUANG                         -1-                   CASE NO.: 3:20-CV-04423-JD
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 1   “Highly Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated Protective Order in this

 2   action or contain material so designated, include internal engineering presentations about

 3   YouTube’s video recommendation systems that disclose specific descriptions of internal

 4   YouTube tools and databases, such as their size, their underlying technology, and their roles in

 5   the video recommendation process, and overviews of the YouTube video recommendation

 6   process, including discrete steps taken by YouTube’s algorithms and factors considered.

 7          The reasons for confidential treatment of this information and a description of the harm

 8   that would result from the public disclosure of this information about YouTube’s proprietary

 9   systems is set out in the Declaration of Amy Wu in Support of YouTube’s Motion to Seal (“Wu

10   Declaration”).

11          Category 2: Product Design Documents, Internal Analyses and Experiments,

12          Metrics and Statistics, and Other Business Logic and Strategies of YouTube’s

13          Products and Functions

14          YouTube requests that the Court maintain under seal confidential, proprietary, and highly

15   sensitive commercial information about product design documents of YouTube’s video

16   recommendation systems and Content ID, internal analyses and user experiments run on those

17   products and functions, and internal metrics and statistics, which is contained in Exhibits 1, 3-5,

18   7-9, 12-13, 18, 20-24, 26-30, 32-34, 40, 47, and 52-58 to this Declaration. Those documents,

19   which were designated as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only”

20   pursuant to the Stipulated Protective Order in this action or contain material so designated,

21   include internal presentations about YouTube’s video recommendation systems that discuss

22   challenges faced, lessons learned, proposed solutions, internal objectives and results, and usage

23   statistics and related experiments, and discussions of the specific operational methods of

24   YouTube’s Content ID system and how it scans videos on YouTube.

25          The reasons for confidential treatment of this information and a description of the harm

26   that would result from the public disclosure of this information is set out in the Wu Declaration

27   and the Declaration of Chenyuan Zhu in Support of YouTube’s Motion to Seal (“Zhu

28   Declaration”).



     DECLARATION OF QIFAN HUANG                         -2-                   CASE NO. 3:20-CV-04423-JD
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 1          Category 3: Operational Policies and Guidelines and Abuse Prevention Mechanisms

 2          about YouTube’s Copyright Management Tools

 3          YouTube requests that the Court maintain under seal confidential, highly sensitive,

 4   internal policies, guidelines and discussions regarding YouTube’s methods and efforts for

 5   detecting and suspending channels linked to bad actors on YouTube, the operations of different

 6   Content ID modes and access thereto, and the processing of DMCA takedown notices, which are

 7   contained in Exhibits 1, 6, 10, 14-16, 42, and 44 to this Declaration. Those documents and

 8   testimony, which are designated as “Confidential” or “Highly Confidential – Attorneys’ Eyes

 9   Only” pursuant to the Stipulated Protective Order in this action or contain material so designated,

10   include a confidential internal policy document detailing YouTube’s methods and efforts for

11   suspending channels linked to bad actors, including the suspension logic, internal tools involved,

12   risk mitigation steps, and impact evaluation and a document disclosing threshold requirements to

13   advancing to different modes in the Content ID system. The reasons for confidential treatment of

14   this information and a description of the harm that would result from the public disclosure of this

15   information is set out in the Zhu Declaration.

16          Category 4: YouTube’s Financial Information, Including Revenues, Costs, and

17          Profits

18          YouTube requests that the Court maintain under seal confidential and highly sensitive

19   financial information, which is contained in Exhibits 9, 25-31, 33, 35, 39, 43, 45-51 to this

20   Declaration. Those documents and testimony, which are designated as “Confidential” or “Highly

21   Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated Protective Order in this action

22   or contain material so designated, include YouTube’s advertising revenue, as well as the share of

23   that revenue paid to content providers, for every month from January 2017 to December 2020;

24   YouTube’s annual content-acquisition costs, other sales and infrastructure costs, gross profit, and

25   gross profit margin; and detailed discussion of YouTube’s financial accounting practices. The

26   reasons for confidential treatment of this information and a description of the harm that would

27   result from the public disclosure of this financial information is set out in the Declaration of

28   Arpan Agrawal in Support of YouTube’s Motion to Seal.



     DECLARATION OF QIFAN HUANG                         -3-                    CASE NO. 3:20-CV-04423-JD
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 1          Category 5: Specific Pricing Terms in YouTube’s Business Contracts

 2          YouTube requests that the Court maintain under seal very limited, specific pricing terms

 3   and royalty rates in two license agreements, which are contained in Exhibits 11 and 21 to this

 4   Declaration. Those documents, which are designated “Highly Confidential – Attorneys’ Eyes

 5   Only” pursuant to the Stipulated Protective Order in this action, include the “Publishing License

 6   Agreement,” which is a license agreement between Google and third-party A Side Music LLC

 7   dba Modern Works Music Publishing that delineates the royalty terms whereby Google

 8   compensates certain licensees, including Modern Works; and the “Sound Recording and

 9   Audiovisual Content License Agreement,” which delineates royalty terms incorporated into

10   certain licenses under which Google compensates certain licensees for sound recording and

11   audiovisual content. The reasons for confidential treatment of this information and a description

12   of the harm that would result from the public disclosure of this information is set out in the

13   Declarations of Joanne Suk (“Suk Declaration”) and Waleed Diab (“Diab Declaration”), Dkt.

14   Nos. 194-2, 194-5, filed in support of the parties’ previous joint motion to seal these two exhibits

15   submitted in connection with YouTube’s Motion for Summary Judgment as to Plaintiff Maria

16   Schneider.

17          Category 6: Personally Identifiable Information of Third Parties

18          YouTube requests that the Court maintain under seal very limited, personally identifiable

19   information of third parties, which is contained in Exhibits 7, 15-16, and 59-61 to this

20   Declaration. The reasons for confidential treatment of this information and a description of the

21   harm that would result from the public disclosure of this information is set out in the Wu and

22   Zhu Declarations.

23          5.      The specific exhibits are attached below, with portions that YouTube requests to

24   be sealed highlighted in red:

25          6.      Attached as Exhibit 1 is Plaintiffs’ Motion for Class Certification, originally filed

26   at Dkt. Nos. 243-1 & 245.

27          7.      This paragraph was intentionally omitted.

28



     DECLARATION OF QIFAN HUANG                         -4-                    CASE NO. 3:20-CV-04423-JD
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 1          8.      Attached as Exhibit 3 are excerpts of the June 22, 2022 deposition of Julian Bill,

 2   originally filed at Dkt. Nos. 243-4 & 247-2 as Exhibit 2 to the Declaration of Jeffrey Waldron in

 3   Support of Plaintiffs’ Motion for Class Certification.

 4          9.      Attached as Exhibit 4 are excerpts of the June 28, 2022 deposition of Cristos

 5   Goodrow, originally filed at Dkt. Nos. 243-7 & 247-5 as Exhibit 5 to the Declaration of Jeffrey

 6   Waldron in Support of Plaintiffs’ Motion for Class Certification.

 7          10.     Attached as Exhibit 5 are excerpts of the July 5, 2022 deposition of Fabio

 8   Magagna, originally filed at Dkt. Nos. 243-8 & 247-6 as Exhibit 6 to the Declaration of Jeffrey

 9   Waldron in Support of Plaintiffs’ Motion for Class Certification.

10          11.     Attached as Exhibit 6 are excerpts of the June 29, 2022 deposition of Chris Ting,

11   originally filed at Dkt. Nos. 243-12 & 247-11 as Exhibit 11 to the Declaration of Jeffrey

12   Waldron in Support of Plaintiffs’ Motion for Class Certification.

13          12.     Attached as Exhibit 7 are excerpts of the May 24, 2022 deposition of Amy Wu,

14   originally filed at Dkt. Nos. 243-13 & 247-12 as Exhibit 12 to the Declaration of Jeffrey

15   Waldron in Support of Plaintiffs’ Motion for Class Certification.

16          13.     Attached as Exhibit 8 is the Expert Report of Joseph N. Winograd, Ph.D., dated

17   September 1, 2022, originally filed at Dkt. Nos. 243-17 & 247-16 as Exhibit 16 to the

18   Declaration of Jeffrey Waldron in Support of Plaintiffs’ Motion for Class Certification.

19          14.     Attached as Exhibit 9 is the Expert Report of Hal J. Singer, Ph.D., dated

20   November 17, 2022, originally filed at Dkt. Nos. 243-19 & 247-18 as Exhibit 18 to the

21   Declaration of Jeffrey Waldron in Support of Plaintiffs’ Motion for Class Certification.

22          15.     Attached as Exhibit 10 are excerpts of Defendants’ Amended Responses and

23   Objections to Schneider Interrogatory No. 4, dated June 17, 2022, originally filed at Dkt. Nos.

24   243-22 & 247-23 as Exhibit 23 to the Declaration of Jeffrey Waldron in Support of Plaintiffs’

25   Motion for Class Certification.

26          16.     Attached as Exhibit 11 is a YouTube Publishing License Agreement (“PLA”),

27   dated April 30, 2014, bearing production number GOOG-SCHNDR-00002434, originally filed at

28



     DECLARATION OF QIFAN HUANG                        -5-                   CASE NO. 3:20-CV-04423-JD
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 1   Dkt. Nos. 244-1 & 247-28 as Exhibit 28 to the Declaration of Jeffrey Waldron in Support of

 2   Plaintiffs’ Motion for Class Certification.

 3          17.     Attached as Exhibit 12 is an internal YouTube presentation entitled “Watch Next

 4   Overview,” bearing production number GOOG-SCHNDR-00040865, originally filed at Dkt.

 5   Nos. 244-2 & 247-29 as Exhibit 29 to the Declaration of Jeffrey Waldron in Support of

 6   Plaintiffs’ Motion for Class Certification.

 7          18.     Attached as Exhibit 13 is an internal YouTube presentation entitled “Watch Next

 8   Eng Review,” bearing production number GOOG-SCHNDR-00052174, originally filed at Dkt.

 9   Nos. 244-4 & 247-32 as Exhibit 32 to the Declaration of Jeffrey Waldron in Support of

10   Plaintiffs’ Motion for Class Certification.

11          19.     Attached as Exhibit 14 is an internal YouTube document entitled “Automated

12   Madison Suspension Propagation (SpiderMADison),” bearing production number GOOG-

13   SCHNDR-00041383, originally filed at Dkt. Nos. 244-5 & 247-33 as Exhibit 33 to the

14   Declaration of Jeffrey Waldron in Support of Plaintiffs’ Motion for Class Certification.

15          20.     Attached as Exhibit 15 is an internal YouTube document entitled

16   “SpiderMADison: Copyright Suspension Expansion to Linked Channels,” bearing production

17   number GOOG-SCHNDR-00000918, originally filed at Dkt. Nos. 244-6 & 247-34 as Exhibit 34

18   to the Declaration of Jeffrey Waldron in Support of Plaintiffs’ Motion for Class Certification.

19          21.     Attached as Exhibit 16 is an internal YouTube document entitled “Trust &

20   Safety/ SpiderMADsense,” bearing production number GOOG-SCHNDR-00001059, originally

21   filed at Dkt. Nos. 244-7 & 247-35 as Exhibit 35 to the Declaration of Jeffrey Waldron in Support

22   of Plaintiffs’ Motion for Class Certification.

23          22.     Attached as Exhibit 17 is an internal YouTube document entitled “Life of a

24   YouTube Upload,” bearing production number GOOG-SCHNDR-00034775, originally filed at

25   Dkt. Nos. 244-8 & 247-37 as Exhibit 37 to the Declaration of Jeffrey Waldron in Support of

26   Plaintiffs’ Motion for Class Certification.

27          23.     Attached as Exhibit 18 is an internal YouTube presentation entitled “Autoplay

28   Deep Dive,” bearing production number GOOG-SCHNDR-00040723, originally filed at Dkt.



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 1   Nos. 244-9 & 247-40 as Exhibit 40 to the Declaration of Jeffrey Waldron in Support of

 2   Plaintiffs’ Motion for Class Certification. The parties jointly seek to replace the originally

 3   filed copies of this document with the excerpt attached hereto (limited to pages -723

 4   to -744).

 5          24.     Attached as Exhibit 19 is an internal YouTube document entitled “Life of a

 6   YouTube Recommendation,” bearing production number GOOG-SCHNDR-00052429,

 7   originally filed at Dkt. Nos. 244-10 & 248-4 as Exhibit 44 to the Declaration of Jeffrey Waldron

 8   in Support of Plaintiffs’ Motion for Class Certification.

 9          25.     Attached as Exhibit 20 is a letter from Defendants’ counsel to Plaintiffs’ counsel,

10   dated January 10, 2023, originally filed at Dkt. Nos. 244-12 & 248-10 as Exhibit 50 to the

11   Declaration of Jeffrey Waldron in Support of Plaintiffs’ Motion for Class Certification.

12          26.     Attached as Exhibit 21 is the YouTube Sound Recording and Audiovisual

13   Content License (“SRAV”), bearing production number GOOG-SCHNDR-00020258, originally

14   filed at Dkt. Nos. 244-14 & 248-14 as Exhibit 54 to the Declaration of Jeffrey Waldron in

15   Support of Plaintiffs’ Motion for Class Certification.

16          27.     Attached as Exhibit 22 is Plaintiffs’ Reply in Support of Motion for Class

17   Certification, originally filed at Dkt. Nos. 271-1 & 272.

18          28.     Attached as Exhibit 23 are excerpts of the June 22, 2022 deposition of Julian Bill,

19   originally filed at Dkt. Nos. 271-3 & 272-2 as Exhibit 82 to the Reply Declaration of Jeffrey

20   Waldron in Further Support of Plaintiffs’ Motion for Class Certification.

21          29.     Attached as Exhibit 24 are excerpts of the July 5, 2022, deposition of Fabio

22   Magagna, originally filed at Dkt. Nos. 271-6 & 272-5 as Exhibit 85 to the Reply Declaration of

23   Jeffrey Waldron in Further Support of Plaintiffs’ Motion for Class Certification.

24          30.     Attached as Exhibit 25 is Defendants and Counterclaimants’ Motion to Exclude

25   Testimony from Plaintiffs’ Proposed Experts Charles D. Cowan and Hal J. Singer, originally

26   filed at Dkt. Nos. 261-1 & 262.

27          31.     Attached as Exhibit 26 is the Expert Report of Hal J. Singer, Ph.D. for Plaintiffs,

28   dated November 17, 2022, with Errata, originally filed at Dkt. Nos. 261-2 & 262-5 as Exhibit D



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 1   to the Declaration of Kelly M. Knoll in Support of Defendants and Counterclaimants’ Motion to

 2   Exclude Testimony from Plaintiffs’ Proposed Experts Charles D. Cowan and Hal J. Singer.

 3             32.   Attached as Exhibit 27 are excerpts of the January 13, 2023 deposition of Hal J.

 4   Singer, with Errata, originally filed at Dkt. Nos. 261-3 & 262-6 as Exhibit E to the Declaration of

 5   Kelly M. Knoll in Support of Defendants and Counterclaimants’ Motion to Exclude Testimony

 6   from Plaintiffs’ Proposed Experts Charles D. Cowan and Hal J. Singer.

 7             33.   Attached as Exhibit 28 are excerpts of the Expert Rebuttal Report of Steven R.

 8   Peterson, Ph.D., dated December 29, 2022, originally filed at Dkt. Nos. 261-4 & 262-7 as

 9   Exhibit F to the Declaration of Kelly M. Knoll in Support of Defendants and Counterclaimants’

10   Motion to Exclude Testimony from Plaintiffs’ Proposed Experts Charles D. Cowan and Hal J.

11   Singer.

12             34.   Attached as Exhibit 29 are excerpts of the January 13, 2023 deposition of Hal J.

13   Singer, originally filed at Dkt. Nos. 279-4 & 280-5 as Exhibit 3 to the Declaration of Jeffrey

14   Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude Plaintiffs’

15   Proposed Experts Charles D. Cowan and Hal J. Singer.

16             35.   Attached as Exhibit 30 is the Expert Report of Hal J. Singer, dated November 17,

17   2022, originally filed at Dkt. Nos. 279-6 & 280-7 as Exhibit 5 to the Declaration of Jeffrey

18   Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude Plaintiffs’

19   Proposed Experts Charles D. Cowan and Hal J. Singer.

20             36.   Attached as Exhibit 31 is the Expert Rebuttal Report of Greg Halm, dated

21   December 29, 2022, originally filed at Dkt. Nos. 279-7 & 280-8 as Exhibit 6 to the Declaration

22   of Jeffrey Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude

23   Plaintiffs’ Proposed Experts Charles D. Cowan and Hal J. Singer.

24             37.   Attached as Exhibit 32 is the Expert Report of Joseph M. Winograd for Plaintiffs,

25   dated September 1, 2022, originally filed at Dkt. Nos. 261-5 & 264-2 as Exhibit 1 to the

26   Declaration of Kelly M. Knoll in Support of Defendants and Counterclaimants’ Motion to

27   Exclude Testimony from Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop.

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     DECLARATION OF QIFAN HUANG                        -8-                   CASE NO. 3:20-CV-04423-JD
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 1          38.     Attached as Exhibit 33 are excerpts of the September 29, 2022 deposition of

 2   Joseph M. Winograd, with Errata, originally filed at Dkt. Nos. 261-6 & 264-3 as Exhibit 2 to the

 3   Declaration of Kelly M. Knoll in Support of Defendants and Counterclaimants’ Motion to

 4   Exclude Testimony from Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop.

 5          39.     Attached as Exhibit 34 is the Expert Report of Joseph N. Winograd, Ph.D., dated

 6   September 1, 2022, originally filed at Dkt. Nos. 276-7 & 278-10 as Exhibit 7 to the Declaration

 7   of Jeffrey Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude

 8   Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop.

 9          40.     Attached as Exhibit 35 is the Expert Rebuttal Report of Greg Halm, dated

10   December 29, 2022, originally filed at Dkt. Nos. 276-8 & 278-11 as Exhibit 8 to the Declaration

11   of Jeffrey Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude

12   Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop.

13          41.     Attached as Exhibit 36 is an internal YouTube presentation entitled “Abuse

14   Threat in Watch Next,” bearing production number GOOG-SCHNDR-00051863, originally filed

15   at Dkt. Nos. 276-12 & 278-15 as Exhibit 12 to the Declaration of Jeffrey Waldron in Support of

16   Plaintiffs’ Opposition to Defendants’ Motion to Exclude Plaintiffs’ Proposed Experts Joseph M.

17   Winograd and Paul Jessop.

18          42.     Attached as Exhibit 37 is an internal YouTube document entitled “Life of a

19   YouTube Upload,” bearing production number GOOG-SCHNDR-00034775, originally filed at

20   Dkt. Nos. 276-13 & 278-16 as Exhibit 13 to the Declaration of Jeffrey Waldron in Support of

21   Plaintiffs’ Opposition to Defendants’ Motion to Exclude Plaintiffs’ Proposed Experts Joseph M.

22   Winograd and Paul Jessop.

23          43.     Attached as Exhibit 38 is an internal YouTube presentation entitled “WatchNext

24   Infra: past, present and future,” bearing production number GOOG-SCHNDR-00034975,

25   originally filed at Dkt. Nos. 276-14 & 278-17 as Exhibit 14 to the Declaration of Jeffrey

26   Waldron in Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude Plaintiffs’

27   Proposed Experts Joseph M. Winograd and Paul Jessop.

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     DECLARATION OF QIFAN HUANG                        -9-                   CASE NO. 3:20-CV-04423-JD
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 1           44.     Attached as Exhibit 39 is an internal YouTube spreadsheet bearing production

 2   number GOOG-SCHNDR-00040616, originally filed at Dkt. Nos. 276-15 & 278-18 as Exhibit

 3   15 to the Declaration of Jeffrey Waldron in Support of Plaintiffs’ Opposition to Defendants’

 4   Motion to Exclude Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop. YouTube

 5   requests that the Court seal this exhibit in its entirety.

 6           45.     Attached as Exhibit 40 is an internal YouTube spreadsheet bearing production

 7   number GOOG-SCHNDR-00053786, originally filed at Dkt. Nos. 276-16 & 278-19 as Exhibit

 8   16 to the Declaration of Jeffrey Waldron in Support of Plaintiffs’ Opposition to Defendants’

 9   Motion to Exclude Plaintiffs’ Proposed Experts Joseph M. Winograd and Paul Jessop. YouTube

10   requests that the Court seal this exhibit in its entirety.

11           46.     Attached as Exhibit 41 are excerpts of the January 18, 2023 deposition of Greg

12   Halm, originally filed at Dkt. Nos. 253-4 & 254-4 as Exhibit 2 to the Declaration of Jeffrey

13   Waldron in Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

14   Testimony of Defendants’ Expert Greg Halm.

15           47.     Attached as Exhibit 42 are excerpts of the June 29, 2022 deposition of Chris

16   Ting, originally filed at Dkt. Nos. 253-5 & 254-5 as Exhibit 3 to the Declaration of Jeffrey

17   Waldron in Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

18   Testimony of Defendants’ Expert Greg Halm.

19           48.     Attached as Exhibit 43 is the Expert Rebuttal Report of Greg Halm dated

20   December 29, 2022, originally filed at Dkt. Nos. 253-9 & 254-9 as Exhibit 7 to the Declaration

21   of Jeffrey Waldron in Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

22   Testimony of Defendants’ Expert Greg Halm.

23           49.     Attached as Exhibit 44 are excerpts of Defendants’ Amended Responses and

24   Objections to Plaintiffs’ Interrogatory No. 4, dated June 17, 2022, originally filed at Dkt. Nos.

25   253-11 & 254-11 as Exhibit 9 to the Declaration of Jeffrey Waldron in Support of Plaintiffs’

26   Motion to Exclude Portions of the Expert Report and Testimony of Defendants’ Expert Greg

27   Halm.

28



     DECLARATION OF QIFAN HUANG                           -10-                CASE NO. 3:20-CV-04423-JD
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 1          50.     Attached as Exhibit 45 is Exhibit 142 to the July 1, 2022 deposition of Arpan

 2   Agrawal, originally filed at Dkt. Nos. 253-12 & 254-12 as Exhibit 10 to the Declaration of

 3   Jeffrey Waldron in Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

 4   Testimony of Defendants’ Expert Greg Halm.

 5          51.     Attached as Exhibit 46 is Plaintiffs’ Motion to Exclude Portions of the Expert

 6   Report and Testimony of Defendants’ Expert Dr. Steven Peterson, originally filed at Dkt. Nos.

 7   257-1 & 258.

 8          52.     Attached as Exhibit 47 is the Expert Rebuttal Report of Steven R. Peterson, dated

 9   December 29, 2022, originally filed at Dkt. Nos. 257-3 & 258-3 as Exhibit 1 to the Declaration

10   of Jeffrey Waldron in Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

11   Testimony of Defendants’ Expert Dr. Steven Peterson.

12          53.     Attached as Exhibit 48 are excerpts of the January 20, 2023 deposition of Steven

13   R. Peterson, with Errata, originally filed at Dkt. Nos. 273-1 & 274-2 as Exhibit 1 to the

14   Declaration of Qifan Huang in Support of Defendants’ Opposition to Plaintiffs’ Motion to

15   Exclude Portions of the Expert Report and Testimony of Defendants’ Expert Dr. Steven

16   Peterson.

17          54.     Attached as Exhibit 49 are excerpts of the January 13, 2023 deposition of Hal J.

18   Singer, with Errata, originally filed at Dkt. Nos. 273-2 & 274-3 as Exhibit 2 to the Declaration of

19   Qifan Huang in Support of Defendants’ Opposition to Plaintiffs’ Motion to Exclude Portions of

20   the Expert Report and Testimony of Defendants’ Expert Dr. Steven Peterson.

21          55.     Attached as Exhibit 50 is Plaintiffs’ Reply in Support of Plaintiffs’ Motion to

22   Exclude Portions of the Expert Report and Testimony of Defendants’ Expert Dr. Steven

23   Peterson, originally filed at Dkt. Nos. 289-1 & 290.

24          56.     Attached as Exhibit 51 are excerpts of the January 13, 2023 deposition of Hal J.

25   Singer, originally filed at Dkt. Nos. 289-3 & 290-2 as Exhibit 2 to the Declaration of Jeffrey

26   Waldron in Further Support of Plaintiffs’ Motion to Exclude Portions of the Expert Report and

27   Testimony of Defendants’ Expert Dr. Steven Peterson.

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     DECLARATION OF QIFAN HUANG                        -11-                   CASE NO. 3:20-CV-04423-JD
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 1          57.     Attached as Exhibit 52 is Plaintiffs’ Motion for Partial Summary Judgment,

 2   originally filed at Dkt. Nos. 263-1 & 265.

 3          58.     Attached as Exhibit 53 is a letter from Defendants’ counsel to Plaintiffs’ counsel,

 4   dated January 10, 2023, originally filed at Dkt. Nos. 263-4 & 265-5 as Exhibit 3 to the

 5   Declaration of Carol L. O’Keefe in Support of Plaintiffs’ Motion for Partial Summary Judgment.

 6          59.     Attached as Exhibit 54 is a chart made by Plaintiffs summarizing data from

 7   Content ID statistics, originally filed at Dkt. Nos. 263-5 & 265-6 as Exhibit 4 to the Declaration

 8   of Carol L. O’Keefe in Support of Plaintiffs’ Motion for Partial Summary Judgment.

 9          60.     Attached as Exhibit 55 are excerpts of the July 5, 2022 deposition of Fabio

10   Magagna, originally filed at Dkt. Nos. 263-6 & 265-8 as Exhibit 6 to the Declaration of Carol L.

11   O’Keefe in Support of Plaintiffs’ Motion for Partial Summary Judgment.

12          61.     Attached as Exhibit 56 is Plaintiffs’ Reply in Support of Motion for Partial

13   Summary Judgment, originally filed at Dkt. Nos. 291-1 & 292.

14          62.     Attached as Exhibit 57 is Counterclaim Defendants Pirate Monitor Ltd. and

15   Gabor Csupo’s Motion for Summary Judgment, originally filed at Dkt. Nos. 259-1 & 260.

16          63.     Attached as Exhibit 58 is a letter from Defendants’ counsel to Plaintiffs’ counsel,

17   dated January 10, 2023, originally filed at Dkt. Nos. 259-8 & 260-20 as Exhibit 18 to the

18   Declaration of Randall P. Ewing, Jr. in Support of Counterclaim Defendants Pirate Monitor Ltd.

19   and Gabor Csupo’s Motion for Summary Judgment.

20          64.     Attached as Exhibit 59 is a receipt bearing production number GOOG-SCHNDR-

21   00054236, originally filed at Dkt. Nos. 295-24 & 296-43 as Exhibit 13 to the Declaration of

22   Andrew T. Kramer in Support of Defendants and Counterclaimants’ Opposition to Counterclaim

23   Defendants Pirate Monitor Ltd. and Gabor Csupo’s Motion for Summary Judgment.

24          65.     Attached as Exhibit 60 is a receipt bearing production number GOOG-SCHNDR-

25   00054237, originally filed at Dkt. Nos. 295-25 & 296-44 as Exhibit 14 to the Declaration of

26   Andrew T. Kramer in Support of Defendants and Counterclaimants’ Opposition to Counterclaim

27   Defendants Pirate Monitor Ltd. and Gabor Csupo’s Motion for Summary Judgment.

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     DECLARATION OF QIFAN HUANG                        -12-                   CASE NO. 3:20-CV-04423-JD
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 1          66.     Attached as Exhibit 61 is a receipt bearing production number GOOG-SCHNDR-

 2   00054238, originally filed at Dkt. Nos. 295-26 & 296-45 as Exhibit 15 to the Declaration of

 3   Andrew T. Kramer in Support of Defendants and Counterclaimants’ Opposition to Counterclaim

 4   Defendants Pirate Monitor Ltd. and Gabor Csupo’s Motion for Summary Judgment.

 5

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is

 7   true and correct. Executed this 7th day of April, 2023 at Sunnyvale, California.

 8                                                               /s/ Qifan Huang
                                                                         Qifan Huang
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11                                   ATTORNEY ATTESTATION

12          I, Kelly M. Knoll, am the ECF User whose ID and password are being used to file this

13   document. In compliance with N.D. Cal. Civil L.R. 5-1(h)(3), I hereby attest that the concurrence

14   in the filing of this document has been obtained from the signatory.

15                                                               /s/ Kelly M. Knoll

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     DECLARATION OF QIFAN HUANG                       -13-                   CASE NO. 3:20-CV-04423-JD
